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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-MHT
DONALD MINEFIELD                  )

                                ORDER

    After   an   independent      and    de   novo   review    of   the

record, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) Defendant       Donald     Minefield’s       objections         to

         recommendation (doc. no. 2031) are overruled.

    (2) The magistrate judge’s recommendation (doc. no.

         2029) is adopted.

    (3) Defendant Minefield’s request or motion to file

         (doc. no. 2027) is denied.

    DONE, this the 20th day of September, 2011.


                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
